       Case 4:11-cv-00818-JM Document 56 Filed 05/07/12 Page 1 of 4



                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                         PLAINTIFF

V.                              CASE NUMBER: 4:11-CV-00818-JMM

DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH SCHOOL
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY;
GROVER GARRISON, COACH, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
SHERMAN COX, ATHLETIC DIRECTOR, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY         DEFENDANTS



     MOTION FOR EXTENSION OF TIME TO COMPLETE DISCOVERY AND
              FOR AN EXTENSION OF SCHEDULING ORDER


       Comes now the Plaintiffs, pro se, and for their motion states:

       1.     That this matter is now pending before the court.

       2.     That the Court has issued a final scheduling order governing disclosures

and discovery pursuant to Rule 26 of the Federal Rules of Civil Procedure and the local

rules. (Docket Entry No. 44).

       3.     That the deadline for completion of discovery, pursuant to the order of this

Court is May 8, 2012.

       4.     That the defendants Brown, Shook, Garrison and Cox have filed a motion




                                            1
       Case 4:11-cv-00818-JM Document 56 Filed 05/07/12 Page 2 of 4



for protective order and has not provided any information requested pursuant to FRCP

Rule 26.

       5.      That efforts by the Plaintiff from the inception of this litigation, have been

made complicated and problematic given the resistance of the defendants Brown, Shook,

Garrison and Cox. Further, they have filed a motion for protective order and have not

provided any information requested to comply with request for discovery and the setting

of depositions to advance the facts alleged as the basis for her cause of action.

       6.      The Defendants have consistently failed to comply fully even with the

information that the Plaintiff is entitled to under the Arkansas Freedom of Information

Act. (Exhibit A)

       7.      That on March 36, 2012, the Plaintiffs served the defendants with

Interrogatories and Requests for Production of Documents. (Exhibit B)

       8.      That since a Motion for a Protective Order has been filed with this Court,

and the refusal to engage in Discovery until a decision by this Court relevant to the

dimensions regarding discovery, this motion has become necessary in order to protect the

Plaintiffs’ rights to discovery under Rule 26 of the Federal Rules of Civil Procedure, Rule

26 et.seq.

       9.      That discovery will not be completed by the May 8, 2012 deadline.

       10.     Plaintiffs have demonstrated diligence in attempting to complete

discovery. (Exhibits C and D)

       11.     Plaintiffs will be prejudice if the extension is not granted.

       12.     Defendants will not be prejudiced by an extension of the scheduling order.

       13.     That this motion is not made for the purpose of delay, but is in the best

                                              2
       Case 4:11-cv-00818-JM Document 56 Filed 05/07/12 Page 3 of 4



interest of justice.

        14.     That prior to the filing of this motion, the Plaintiff complied with Local

Rule 7.2(g), by conferring in “good faith” on the specific issue or issues in dispute with

the defendants Brown, Shook, Garrison and Cox’s counsel and we are not able to resolve

the disagreements without the intervention of the Court. (Exhibits D)

        WHEREFORE, the Plaintiffs prays that this court enter an order extending the

time to complete discovery for a reasonable period of time pending the decision of this

Court on motions now before the Court and all other proper and just relief.



                                                      Respectfully submitted,


                                                      /s/ Teresa Bloodman____________
                                                      Teresa Bloodman #2005055
                                                      Attorney for Plaintiff
                                                      P.O. Box 13641
                                                      Maumelle, AR 72113
                                                      (501) 373-8223 Office
                                                      (501) 847-4040 Facsimile
                                                      teresabloodman@yahoo.com


                             CERTIFICATE OF SERVICE


I, Teresa Bloodman, hereby certify that on this 7th day of May 2012, I electronically filed
the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all CM/ECF participating counsel of record listed below; and
I further certify that I have mailed the document, via U.S. Mail, postage prepaid, to all
non CM/ECF participants listed below:

Mr. George J. Bequette, Esq.
425 West Capitol Avenue, Suite 3200
Little Rock, AR      72201
Telephone: (501) 374-1107
Fax: (501) 374-5092
jbequette@bbpalaw.com

                                              3
      Case 4:11-cv-00818-JM Document 56 Filed 05/07/12 Page 4 of 4




Mr. Scott P. Richardson
Assistant Attorney general
323 Center Street, Suite 200
Little Rock, AR 72201-2610
Telephone: (501) 682-1019
Fax: (501) 682-2591
scott.richardson@arkansasag.gov




                                         /s/Teresa Bloodman




                                   4
